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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 HON. PAULINE NEWMAN,

                        Plaintiff,

                        v.                          Case No. 23-cv-1334 (CRC)

 HON. KIMBERLY A. MOORE, et al.

                        Defendants.

                             ORDER SETTING BRIEFING SCHEDULE

       Upon consideration of the parties’ Joint Status Report and proposed briefing schedule, it is

hereby ORDERED that the following schedule shall govern further proceedings on Plaintiff’s

motion for preliminary injunction [ECF No. 12] and Defendants’ response to Plaintiff’s Amended

Complaint:

       •    On or by September 1, 2023: Defendants shall file a combined opposition to Plaintiff’s
            motion for preliminary injunction and motion to dismiss, not to exceed 65 pages

       •    On or by October 9, 2023 or 21 days after the Judicial Council’s order, whichever is
            later: Plaintiff shall file a combined opposition to Defendants’ motion to dismiss and
            reply in support of her motion for preliminary injunction, not to exceed 45 pages

       •    On or by 21 days after Plaintiff’s combined opposition and reply: Defendants shall file
            a reply in support of their motion to dismiss, not to exceed 35 pages


            IT IS SO ORDERED.



Date: August 21, 2023



                                                             CHRISTOPHER R. COOPER
                                                             United States District Judge
